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Pueb|o County, Co\oredo

Court Address: Pueblo County Judicial Building,
320 West Tenth Street, Pueblo, Co\orado 81003

TOM MONRC)E,

Plaintiff,
V.
DIOCESE OF PUEBLO, a corporation sole, and
THE MARIANISTS PRGVINCE OF THE
UNITED STATES, INC.,

Defendants

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Case Number:

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COMPLA|NT

 

 

 

Plaintit`f, TOM MONROE, hereby brings this Complaint against Defcndants, DlOCESE

OF PUEBLO and THE MARlANISTS PROVINCE OF THE UNITED STATES, INC., and

alleges as follows:

PARTIES AND JURISDICTION

l. Plaintift`, TOM MONROE is an adult male who resides in Pueblo, Colorado_

2. Defendant, DIOCESE OF PUEBLO, is a corporation sole responsible for the
interests of the Roman Catholic Church in southern Colorado, The DIOCESE OF PUEBLO’s
jurisdiction and responsibilities include all Catholic schools within its geographical boundaries
At all material times, the DIOCESE OF PUEBLO owned and operated Roncalli High School, an

all-boys Catholic high school in Pueblo, Colorado.
3. Defendant, MARIANISTS PROVINCE OF THE UNITED STATES, INC.

(“MAR_IANISTS”), is a Catholic religious Order and non-profit Missouri corporation doing
business in Colorado. At all relevant times, MAR_IANISTS staffed and administered Roncalli
High School with priests and monks from the Society of Mary. Defendants, DIOCESE OF
PUEBLO and MARIANISTS, are collectively referred to herein as the “Church” or

“Det`endants.”

4. At all material times, Brother William Mueller (“BROTHER MUELLER”) was a

member of the MARIANISTS’ Religious Order and a band director at Roncalli High School.

BROTHER MUELLER was a popular teacher at Roncalli High School who was often bugging

and wrestling with the students

5. Upon information and belief, Defendant, the DIOCESE OF PUEBLO’s principal

place of business is within the City and County of Pueblo, making venue proper

BACKGROUND

 

6. The Church offers many opportunities for minors and families to become active

and involved in Church activities As a result, priests, clergy, and members of Religious Orders

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have abundant and frequent contacts with minors, individually and in groups

7. Because of the opportunities to be with minors, The Church attracts many truly
caring and giving individuals; however, at the same time, service in The Church attracts an
extraordinary number of pedophiles, child molesters and sex abusers.

8. Ofticials and religious figures at the highest levels of The Church are well aware
of the attraction of The Church to those who will do serious harm to minors,

9. Such persons who will do serious harm to minors seek employment by The
Church as clergy, where they will obtain privacy with minors and control over them. As
religious figures they wield enormous influence over minors, who are required to address them
as “l~`ather”, “Brother”, or such other terms connoting love and authority

10. Religious figures in The Church are bestowed with an heir of infallibility, and are
considered conduits for Catholics to make a connection with the deity and live more meaningful
lives

l l. As a result, when these seemingly infallible holy men commit unspeakable,
perverted sexual acts with minors, it has an extraordinarily traumatic effect on the victims,

psychologically and emotionally.

17 lnstead of exercising due care and diligence to protect minors under these

circumstances from the serious harm described above, The Church gives clergy complete
discretion and freedom to have personal and private encounters with minors At the same time,
The Church has done nothing to screen abusers or protect minors from the sexual predators Who
infiltrate its ranks

l3. Quite the opposite, 'l`he Church has gone to great lengths to protect “its own.” lt
is the custom, policy and practice of the Roman Catholic Church, through its cardinals, bishops,
priests, religious orders, and other officials and agents, to conceal instances of child sexual abuse

and complaints by victims lt zealously maintains the secrecy of the horrifying truth of rampant

child sexual abuse in The Church, by among other things:

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0 Failing to disclose complaints to law enforcement officials, parishioners,

students and the public;

0 Maintaining secret archives and files of evidence of sex abuse, accessible
only to bishops;
o instructing Church officials in destruction of incriminating documents and
spoliation of evidence regarding sexual abuse by clergy;
o Transferring sex offending clergy to The Church facilities in other locations
where their pasts would not be known, and the abusers would have a “fresh
start” with a new group of vulnerable children;
o Threatening and coercing victims and their families to withdraw
complaints and retract allegations of sexual abuse;
0 Paying “hush money” to victims and their families, in exchange for
promises of non»disclosure and confidentiality
l4. Each of the acts and practices set forth above are done to protect and shelter the
abuser; obstruct justice; conceal criminal conduct; evade prosecution; avoid being compelled by
criminal and civil courts to turn over information or allegations regarding child sexual abuse;

avoid public awareness and scandal about pedophile clergy; and avoid financial loss

15. The Church’s conduct is outrageous given the enormous trust and confidence

placed in its religious figures The Church actively solicits and encourages this trust and

confidence from parishioners and the public.

SEXUAL ABUSE OF TOM MONROE
16. TOM MONROE (“TOM”) was born on December 26, 1952 and raised as

a devout Catholic.

l7. Between 1966 and 1970, TOM attended Roncalli High School in Pueblo,
Colorado. During TOM’s freshman year at Roncalli, TOM became active in the school band,

which was directed by BROTHER MUELLER.

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18. During band class, BROTHER MUELLER would frequently tell students that
they could improve their performance if they wore less restrictive clothing

19. When TOM needed additional instruction playing the trombone, BROTHER

MUELLER was eager to provide private tutoring.

20, During these private lessons in the Roncalli band room, BROTHER MUELLER
told TOM that he could play the trombone better if he played in the nude. BROTHER

MUELLER instructed 'l`OM to remove his clothing
71. While TOM played the trombone in the nude, BROTHER MUELLER

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masturbated and fondled 'l`Ol\/l’s genitals BROTHER MUELLER sexually abused T()M on
approximately five occasions in this manner.

22. During TOM’s sophomore year, TOl\/l reported the sexual abuse to Father Jose
Montoya, a guidance counselor at Roncalli High School. Father Montoya permitted TOM to
withdraw from band, but no disciplinary action was taken against BROTHER MUELLER.

23. BROTHER MUELLER subsequently abused other students at Roncalli High
School in the same or similar manner that he abused TOM. BROTHER MUELLER also abused
students at other schools where he was assigned by the MARIANISTS.

24. At the time he was sexually abused, TOM was unaware that Defendants knew that
BRGTHER MUELLER sexually abused other students Thus, TOM MONROE was also
unaware that the Defendants’ failure to take any action against BROTHER MUELLER
contributed to his own abuse.

25. After finding out about BRGTHER MUELLER’$ sexual abuse of minors, the
Defendants actively took steps to conceal the abuse in order to protect BROTHER MUELLER,
conceal Defendants’ own wrongdoing in supervising BROTHER MUELLER, and prevent TOM
and other victims of BROTHER MUELLER from filing a civil lawsuit.

26. BRO'I`HER MUELLER and TOM were in a fiduciary relationship BROTHER
MUELLER held a special position of trust and confidence with TOM. TGM MGNROE looked

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` to BROTHER MUELLER for counseling and guidance

27. The Defendants were in a fiduciary relationship with TOM. TOM placed his trust

and confidence in the Defendants’ institutions TOM looked to the Defendants and their

representatives for counseling and guidance In addition, the Defendants knew that TOM had a

special and privileged relationship with BROTHER MUELLER. The Defendants each owed

TOM a fiduciary duty to:

(3)

(b)

(C)

(d)

(€)

Investigate and warn TOM of the potential for harm from BROTHER

MUELLER;
Disclose its awareness of facts regarding BROTHER MUELLER that

created a likely potential for harm;
Disclose its own negligence with regard to hiring, supervision and
retention of BROTHER MUELLER;

Provide a safe environment for TOM where he would be free from abuse;

and

Protect TOM from exposure to harmful individuals like BROTHER

MUELLER.

28. Each Defendant breached its fiduciary duty to TOl\/l by failing to:

(a)

(b)

(C)

(Cl)
(€)

Investigate and warn TOM of the potential for harm from BROTHER

MUELLER;

Disclose its awareness of facts regarding BROTHER MUELLER that
created a likely potential for harm;

Disclose its own negligence with regard to hiring, supervision and
retention of BROTHER MUELLER;

Provide a safe environment for TOM where he was free from abuse; and

Protect TOM` from exposure to harmful individuals like BROTHER
MUELLER.

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29. Each Defendant actively and fraudulently concealed information pertinent and

relevant to claims relating to the sexual abuse in this matter for the purpose of protecting itself

from civil liability and evading same.

NEGLIGENCE

30. Plaintiff repeats and re-alleges Paragraphs l through 29 above.

31. At all material times, the Defendants owed a duty to Plaintiff to use
reasonable care to ensure the safety, care, well being and health of the Plaintiff while he was
under their care, custody or in the presence of their agents or employees The Defendants’ duties
encompassed the hiring, retention and/or supervision of BROTHER MUELLER and otherwise
providing a safe environment at Roncalli High School.

32. The Defendants breached these duties by failing to protect the minor Plaintiff
from sexual assault and lewd and lascivious acts committed by their agent and/or employee,
BROTHER MUELLER, at Roncalli High School.

33. At all relevant times, the Defendants knew or in the exercise of reasonable care
should have known that BROTHER MUELLER was unfit, dangerous and a threat to the health,
safety and welfare of the minors entrusted to his counsel, care and protection

34. Despite such actual or constructive knowledge, the Defendants provided

BROTHER MUELLER unfettered access to TOM MONROE and gave him unlimited and

uncontrolled privacy.

35. At all relevant times, the Defendants created an environment which fostered child
sexual abuse against children it had a duty to protect, including TOM.
36. At all relevant times, the Defendants had inadequate policies and procedures to

protect children it was entrusted to care for and protect, including TOM.

37. As a direct and proximate result of Defendants’ negligence, TOM has suffered

severe and permanent psychological, emotional and physical injuries, including but not limited to

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severe depression, dysfunctional relationships shame, humiliation and the inability to lead a

normal life. Plaintiff’s injuries are persistent, permanent, and debilitating in nature.

WHER_EFORE, the Plaintiff, TOM MONRGE, prays that judgment be entered in his

favor and against the Defendants, the DlOCESE OF PUEBLO and THE MARlANlS'l`

PROVINCE OF THE UNITED STATES, lNC., jointly and Severally, for compensatory

damages costs, expert witness fees, deposition expenses pre- and post-judgment interest and for

such other and further relief as this Coutt deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial in this action.

Dated: September 21, 2005.

Respectfully submitted,

LAW FIRM OF ALAN G. MOLK
By: Duly signed original in office ofAlan G. Molk

Alan G. Molk, #10988
-and-

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